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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       )
UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )
        v.                                             )
                                                         Case Number 1:17-cv-02511-RJL
                                                       )
AT&T INC., DIRECTV GROUP HOLDINGS,                     )
LLC, and TIME WARNER INC.,                             )
                                                       )
                       Defendants.                     )
                                                       )


    DEFENDANTS’ SURREPLY TO THE UNITED STATES’ REPLY TO RELEASE
       NONCONFIDENTIAL PORTIONS OF SEALED TRIAL TRANSCRIPTS


       Defendants disagree with the government’s assertion that Defendants designated

transcript pages that are not confidential. Defendants added approximately 70 pages of bench

conference transcripts to the government’s initial designation of over 400 pages of testimony and

bench conferences. Defendants’ additional designations cover various issues involving

confidential information.

       Defendants set forth below a slightly revised list of both sides’ proposed confidential

transcript designations; it corrects certain page citations and adds designations inadvertently

omitted from the initial list. The asterisks denote Defendants’ designations.

       Defendants submit this revised list for the Court’s consideration in the event the Court is

inclined to grant the government’s motion. Defendants reiterate they have no objection to all

bench conferences and closed-session testimony remaining confidential under seal.




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           Tr. 98:23–101:3
           Tr. 281:17–297:21
           Tr. 305:3–330:25
           Tr. 389:16–392:15
           Tr. 431:12–432:19
           Tr. 438:21–440:3
           Tr. 737:14–753:17
           Tr. 876:22–881:1
           Tr. 901:23–970:25* 1
           Tr. 1035:20–1037:10
           Tr. 1147:20–1149:18
           Tr. 1210:6–1227:24
           Tr. 1228:16–1238:18
           Tr. 1255:11–1258:7
           Tr. 1263:8–1268:25
           Tr. 1333:17–1336:3
           Tr. 1346:20–1347:1
           Tr. 1362:3–1363:20
           Tr. 1431:20–1437:23*
           Tr. 1441:6–22*
           Tr. 1542:18–1557:5*
           Tr. 1558:3–1559:19*
           Tr. 1566:11–1569:23*
           Tr. 1571:11–1575:22*
           Tr. 1591:2–1596:6*
           Tr. 1596:7–1597:3

1
    The government originally designated this 69-page confidential closed session. Defendants added six lines.


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Tr. 1600:17–1602:25*
Tr. 1878:22–1896:12
Tr. 1903:1–1957:16
Tr. 1975:12–1978:9
Tr. 2001:11–2004:2
Tr. 2008:9–2011:6*
Tr. 2023:17–2072:24
Tr. 2141:10–2146:22*
Tr. 2286:20–23
Tr. 2410:19–2411:1
Tr. 2587:10–2598:8*
Tr. 2602:11–2604:8*
Tr. 2661:20–2663:11
Tr. 2797:9–2799:2
Tr. 2805:7–2807:1
Tr. 2842:25–2851:8
Tr. 2900:18–2904:4
Tr. 2918:24–2919:13
Tr. 2924:11–25
Tr. 2937:9–2938:23
Tr. 2944:6–2945:10
Tr. 2973:12–2974:7
Tr. 2982:4–2995:12
Tr. 3007:3–21
Tr. 3033:2–5*
Tr. 3280:1–3289:12
Tr. 3318:1–3323:7



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Tr. 3351:5–3354:19
Tr. 3360:5–3368:5
Tr. 3815:24–3816:3
June 5, 2018 Teleconference Transcript*




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Date: June 26, 2018                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 26, 2018, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.



                                                     By: /s/ Daniel M. Petrocelli
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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                                 )
UNITED STATES OF AMERICA,                                        )
                                                                 )
                             Plaintiff,                          )
                                                                 )
            v.                                                   )
                                                                   Case Number 1:17-cv-02511-RJL
                                                                 )
AT&T INC., DIRECTV GROUP HOLDINGS,                               )
LLC, and TIME WARNER INC.,                                       )
                                                                 )
                             Defendants.                         )
                                                                 )


                                   CORRECTED [PROPOSED] ORDER

           It is hereby ORDERED that the trial transcript excerpts listed below contain confidential

information and thus shall remain UNDER SEAL:

           Tr. 98:23–101:3
           Tr. 281:17–297:21
           Tr. 305:3–330:25
           Tr. 389:16–392:15
           Tr. 431:12–432:19
           Tr. 438:21–440:3
           Tr. 737:14–753:17
           Tr. 876:22–881:1
           Tr. 901:23–970:25* 1
           Tr. 1035:20–1037:10
           Tr. 1147:20–1149:18
           Tr. 1210:6–1227:24


1
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Tr. 1228:16–1238:18
Tr. 1255:11–1258:7
Tr. 1263:8–1268:25
Tr. 1333:17–1336:3
Tr. 1346:20–1347:1
Tr. 1362:3–1363:20
Tr. 1431:20–1437:23*
Tr. 1441:6–22*
Tr. 1542:18–1557:5*
Tr. 1558:3–1559:19*
Tr. 1566:11–1569:23*
Tr. 1571:11–1575:22*
Tr. 1591:2–1596:6*
Tr. 1596:7–1597:3
Tr. 1600:17–1602:25*
Tr. 1878:22–1896:12
Tr. 1903:1–1957:16
Tr. 1975:12–1978:9
Tr. 2001:11–2004:2
Tr. 2008:9–2011:6*
Tr. 2023:17–2072:24
Tr. 2141:10–2146:22*
Tr. 2286:20–23
Tr. 2410:19–2411:1
Tr. 2587:10–2598:8*
Tr. 2602:11–2604:8*
Tr. 2661:20–2663:11


                               2
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    Tr. 2797:9–2799:2
    Tr. 2805:7–2807:1
    Tr. 2842:25–2851:8
    Tr. 2900:18–2904:4
    Tr. 2918:24–2919:13
    Tr. 2924:11–25
    Tr. 2937:9–2938:23
    Tr. 2944:6–2945:10
    Tr. 2973:12–2974:7
    Tr. 2982:4–2995:12
    Tr. 3007:3–21
    Tr. 3033:2–5*
    Tr. 3280:1–3289:12
    Tr. 3318:1–3323:7
    Tr. 3351:5–3354:19
    Tr. 3360:5–3368:5
    Tr. 3815:24–3816:3
    June 5, 2018 Teleconference Transcript*



    It is further ORDERED that all other portions of the trial transcript shall be

UNSEALED.




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SO ORDERED, this ____ day of ________, 2018.




                                               __________________________
                                               HON. RICHARD J. LEON
                                               United States District Judge




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